                      Case 4:22-cv-04359-KAW Document 5 Filed 07/28/22 Page 1 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the

                                                   Northern District
                                                __________  District of
                                                                     of California
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                    US RIGHT TO KNOW                                       )
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                            Plaintiff(s)                                   )
                                                                           )
                                v.                                                          Civil Action No. 3:22-cv-04359 KAW
                                                                           )
     UNITED STATES DEPARTMENT OF STATE
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                           Defendant(s)                                    )

                                                SUMMONS IN A CIVIL ACTION
                                      UNITED STATES DEPARTMENT OF STATE
To: (Defendant’s name and address) C/O U.S. Attorney’s Office
                                      ATTN: Civil Process Clerk
                                      150 Almaden Blvd., Suite 900
                                      San Jose, CA 95113




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: RACHEL DOUGHTY(CaliforniaStateBarNo.255904)
                                      GREENFIRE LAW, PC
                                      P.O. Box 8055
                                      Berkeley, CA 94707
                                      (510) 900-9502 x2


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


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Date:            July 28, 2022
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                        Case 4:22-cv-04359-KAW Document 5 Filed 07/28/22 Page 2 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
                      Case 4:22-cv-04359-KAW Document 5 Filed 07/28/22 Page 3 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the

                                                   Northern District
                                                __________  District of
                                                                     of California
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                    US RIGHT TO KNOW                                    )
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                            Plaintiff(s)                                )
                                                                        )
                                v.                                                         Civil Action No. 3:22-cv-04359 KAW
                                                                        )
     UNITED STATES DEPARTMENT OF STATE
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                           Defendant(s)                                 )

                                                SUMMONS IN A CIVIL ACTION
                                      UNITED STATES DEPARTMENT OF STATE
To: (Defendant’s name and address)C/O Attorney General of the United States
                                      U.S. Department of Justice
                                      950 Pennsylvania Ave, NW
                                      Washington, DC 20530-001




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
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whose name and address are: RACHEL DOUGHTY(CaliforniaStateBarNo.255904)
                                      GREENFIRE LAW, PC
                                      P.O. Box 8055
                                      Berkeley, CA 94707
                                      (510) 900-9502 x2


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


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Date:            July 28, 2022
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                        Case 4:22-cv-04359-KAW Document 5 Filed 07/28/22 Page 4 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

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                                                                 , a person of suitable age and discretion who resides there,
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                                                                                on (date)                             ; or

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           ’ Other (specify):
                                                                                                                                           .


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           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




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                      Case 4:22-cv-04359-KAW Document 5 Filed 07/28/22 Page 5 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the

                                                   Northern District
                                                __________  District of
                                                                     of California
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                    US RIGHT TO KNOW                                   )
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                            Plaintiff(s)                               )
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                                v.                                                        Civil Action No. 3:22-cv-04359 KAW
                                                                       )
     UNITED STATES DEPARTMENT OF STATE
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                           Defendant(s)                                )

                                                SUMMONS IN A CIVIL ACTION
                                      UNITED STATES DEPARTMENT OF STATE
To: (Defendant’s name and address)2201 C St. NW
                                      Washington, DC 20520




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
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                                      Berkeley, CA 94707
                                      (510) 900-9502 x2


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You also must file your answer or motion with the court.


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                 July 28, 2022
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                        Case 4:22-cv-04359-KAW Document 5 Filed 07/28/22 Page 6 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

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